In the court of common pleas of Lucas county Electa Bonawitt brought an action to recover damages for personal injury resulting to her from slipping on a floor in St. Vincent's Hospital in the city of Toledo, Ohio. The trial resulted in a directed verdict and judgment for the defendant, to which the plaintiff prosecutes error. *Page 348 
A daughter of the plaintiff was a patient in the hospital, and the plaintiff went there to visit her in the forenoon of March 1, 1930. She walked up the steps to the second floor, and in walking along the upper floor slipped and fell, receiving serious injury. Her description of the way it occurred is simply this: "My feet slipped out from under me like lightning and I fell on my left side." She further testified that the cause of her fall was "wax or oil or something" on the floor, and that it was very slippery and smooth. She further testified that the wax had been applied on the linoleum and that it was smooth and shiny and highly polished. She walked 12 or 15 feet along a corridor of the hospital much used by nurses, patients, and persons visiting the hospital and thus knew its condition. Evidence was introduced tending to show that a man, presumed to have been an employee, waxed and polished the floor a day or two before the plaintiff was injured. It does not appear from the bill of exceptions what kind of material was used in waxing and polishing the floor. In describing the floor, one witness testified that "it was the same sensation as when you walk on ice, as each step you took you would slide back just a little." No evidence was introduced tending to show any negligence in the method used, or in the manner of waxing or polishing the floor, or that any different material was used than is ordinarily used for such purposes. Nor was any evidence introduced tending to show that any greater or lesser quantity was applied than is ordinarily used for such purposes, nor that it was improper to wax or oil linoleum, nor that the result would be in any respect different when the material is applied to linoleum instead of to hard wood, the plaintiff relying simply upon the proposition that the floor had been waxed and polished and as a result was slippery.
An owner in treating a floor may use wax or oil or other substance in the customary manner without incurring *Page 349 
liability to one who slips and falls thereon, unless the owner is negligent in the materials he uses or in the manner of applying them. If a recovery is to be had, something more must appear than that the floor has had such treatment as is ordinarily applied in the care of floors.
While the circumstances in S.S. Kresge Co. v. Fader, 116 Ohio St. 718,  158 N.E. 174, 58 A.L.R., 132, were not precisely similar to those in the case at bar, yet the principles announced seem entirely applicable. In that case water had been blown into the front of the store during a rainstorm, and the incoming shoppers had carried in more moisture, rendering the floor slippery and resulting in the plaintiff's fall and injury. Such an entryway might, when wet, be fully as dangerous as a floor which had been waxed and polished.
Tenbrink v. F.W. Woolworth Co., (R.I.), 153 A. 245, 30 N.C.C.A., 564, is precisely like the case at bar. In that case it was held not to be negligence for a storekeeper to oil the floor of his store, that a verdict for the defendant was properly directed in the absence of negligence of the defendant in oiling the floor, and that it would be necessary to prove that the oiling was improperly done.
In Spickernagle v. Woolworth, 236 Pa., 496, 84 A. 909, Ann. Cas., 1914A, 132, it was held that a compulsory nonsuit was properly granted where a customer sustained injuries by slipping on a floor which had been recently oiled, there being no proof that the substance used was unusual or improper, or that the floor was oiled in an improper manner, or that it was in any different condition than would have resulted from proper oiling.
Similar decisions have been rendered in many cases, among which are the following: Abbott v. Richmond County Country Club,211 A.D. 231, 207 N.Y.S., 183, affirmed 240 N.Y. 693,148 N.E. 762; Kerstein *Page 350 
v. Goodman, 130 Misc. 714, 225 N.Y.S., 68; Kaufman v. Young,
(Sup.), 157 N.Y.S., 778; Curtiss v. Lehigh Valley Rd. Co.,233 N.Y., 554, 135 N.E. 915; Lavine v. United Paper Board Co.,243 N.Y., 631, 154 N.E. 635.
The questions were carefully reviewed by the Court of Appeals of Stark county in an opinion by Judge Shields, in Woolworth v.Smallwood, 26 O.L.R., 474, and it was held that a directed verdict was required. Many authorities sustaining the doctrine are collected in an article published in the January, 1932, number of the United States Law Review, at page 47.
The duty of the owner is to exercise ordinary care for the safety of those who have occasion to walk on the floor, and that duty is not shown to have been violated by merely oiling or waxing and polishing a floor in the usual way, although the floor was rendered slippery thereby.
For the reasons given the judgment is affirmed.
Judgment affirmed.
LLOYD and WILLIAMS, JJ., concur.